                           UNITED S'I'A'I'ES DISTRICT COUR'I'
                                                                                       *Hm."
                        WESTERN DISTRICT OF NORTI.I CAROLINA                           ocr - 8 20t5
                                ASHEVILLE DIVISION
                                                                                    u.s. DEnEr@um
                                                                                       w. u3t oilt.c.
                                     DOCKET NO. l:14CR58

LTNITE,D STATES OF AMERICA,                        )
                                                   )
                       Plaintiff,                  )
                                                   )              PRELIMINARY
               V.                                  )         OIIDER OF FORFEITURE
                                                   )
JEFFERY SCOTT BLACK.                               )
                                                   )
                       Del-endant.                 )


       As a result of the guilty plea of the def'endant to the violation stated in the Bill of

Indictment, fbr which the United States sought fbrfeiture pursuant to 18 U.S.C. S 924(d) and 28

U.S.C. S 2461(c). the defbndant shall fbrf-eit to the United States all property constituting or

derived from any proceeds the defbndant obtained. directly or indirectly, as a result of such

violation; and/or all property involved in. used, or intended to be used in any manner or part to

commit or fucilitate the commission of the violation.

       The Courl has determined, based on the Bill of Indictment and the guilty plea of the

defendant, that the below-described property is subject to fbrfeitlrre plrrsuant to 18 U.S.C. S 924(d)

and 28 U.S.C. $ 2a61(c) and that the govemment has established the requisite nexus between such

property and such violations and that the defbndant had an interest in the property.

       It is therefore ORDERED:

        l.     The tbllowing properly is hereby forfeited to the United States for disposition

       according to law, subject to the provisions of 21 U.S.C. $ 853(n):

       Smith & Wesson, .32 Caliber Revolver, SN: 367140 with ammunition




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          2. The Attomey General (or a designee) is authorized to seize the fbrfeited properly subject

to tbrfeiture; to conduct any discovery proper in identifying. locating, or disposing of the property;

and to commence proceedings that comply with any statutes goven-ring third party rigl-rts. Fed. R.

Crim. P.32.2(b)(3).

          3. Pursuantto2l U.S.C. S 853(nX1) and Fed. R. Crim. P.32.2(b)(6), the United States

shall post on an official government intemet site (www.fbrfbiture.gov), fbr at least 30 consecutive

days, notice of this order and of its intent to dispose of the property in such a marrner as the United

States n-ray direct. The United States may also, to the extent practicable, provide direct written

notice of this forfbiture.

          4. Any person, other than the def-endant, having or claiming a legal interest in any of the

above-listed fort'eited property may, within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier, petition the Court tbr a hearing without a jury to

adjudicate the validity of the petitioner's alleged interest in the property, and tbr an amendment of

the order of forfeiture pursuant to 21 U.S.C. S 853(n). The petition shall be signed by the petitioner

under penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or

interest in each of the fbrfeited properties; the time and circumstances of the petitioner's

acquisition of the right, title, or interest in the property; and any additional facts supporting the

petitioner's claim and the reliel'sought.2l U.S.C. S 853(nX2) and (3).

          5. After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(l)(A) and before

a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of

Civil Procedure upon a showing that such discovery is necessary or desirable to resolve factual

issues.



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       6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure. upon entry of

this Order of Forf-eiture, the United States Attomey's Of-fice is authorized to conduct any discovery

needed to identify, locate or dispose of the property, including depositions, interrogatories,

requests for production of documents and to issue subpoenas. pursuant to Rule 45 of the Federal

Rules of Civil Procedure.

       7. Upon adjudication of third-party interests, if any, this Court will enter a final Order of

forfeiture pursuant to 2l U.S.C. $ 853(n) and Fed. R. Crim. P. 32(c)(2).

       8. If no third party files a timely claim, this prelirninary Order of fort'eiture shall become

the flnal Order of fort'eiture and shall be made part of the sentence and included in the judgment, as

provided by Fed. R. Crim. P.32.2(b)(4) and32.2(c)(2).

       9. The Court shall retain jurisdiction to enfbrce this Order and to amend it as necessary,

pursuant to Fed. R. Crim. P.32.2(e).




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